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                                           No. 21–1756

                                                 In the

        United States Court of Appeals
                              For the Fourth Circuit
                                          __________________

                                Damian Stinnie, et al., Appellants,
                                               v.
                                  Richard Holcomb, Appellee.
                                          __________________
                       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (The Honorable Norman K. Moon)
                                          __________________

                   SUPPLEMENTAL OPENING BRIEF OF APPELLANTS
                               __________________

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                                             August 31, 2022
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                          CORPORATE DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule 26.1,

        Plaintiffs-Appellants Damian Stinnie, Melissa Adams, Adrainne Johnson, Williest

        Bandy, and Brianna Morgan state that, as individuals, they have no parent

        corporations or publicly held corporations that own ten percent or more of stock

        and that they are not aware of any publicly held corporation that has a direct

        financial interest in the outcome of this litigation. Further, this case does not arise

        out of a bankruptcy proceeding.




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                                         INTRODUCTION
              Plaintiffs are indigent Virginia citizens who sued the Commissioner of the

        Department of Motor Vehicles (the “Commissioner”) for suspending their driver’s

        licenses under Virginia Code § 46.2-395 (“Section 46.2-395” or “§ 46.2-395”).

        When this suit was filed, § 46.2-395 authorized these suspensions without notice, a

        hearing, or consideration of Plaintiffs’ inability to pay. One of Plaintiffs’ primary

        arguments was that each suspension amounted to a taking of their constitutional

        rights without due process. Plaintiffs moved for a preliminary injunction. The

        Commissioner defended § 46.2-395 vigorously. Plaintiffs won. The District Court

        for the Western District of Virginia (the “District Court”) found that Plaintiffs were

        likely to prevail on the merits, enjoined enforcement of the statute against them

        and ordered that the Commissioner “remove any current suspensions of the

        Plaintiffs’ driver’s licenses imposed under” § 46.2-395. (JA843); Stinnie v.

        Holcomb, 355 F. Supp. 3d 514, 520 & 533 (W.D. Va. 2018). Subsequently the

        case was mooted when the General Assembly repealed § 46.2-395.

              The preliminary injunction changed the trajectory of the litigation and

        Plaintiffs’ lives. After its entry, Plaintiffs were no longer subject to

        unconstitutional suspensions of their driver’s licenses under § 46.2-395 without

        payment of reinstatement fees. Based on that success, Plaintiffs filed a Petition for

        Attorneys’ Fees and Litigation Expenses (the “Fee Petition”) under 42 U.S.C.


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        § 1988. The District Court denied the Fee Petition, and a panel of this Court

        affirmed. Both courts recognized the significance of Plaintiffs’ win. The denial

        was based entirely on this Court’s decision in Smyth ex rel. Smyth v. Rivero, 282

        F.3d 268 (4th Cir. 2002).

              Under Smyth, the grant of a preliminary injunction is never sufficient to

        support prevailing party status. No other circuit draws such a firm line. Every

        other circuit acknowledges that, at least in some cases, a plaintiff who secures a

        preliminary injunction can be deemed a “prevailing party” under the federal fee-

        shifting statutes. Smyth is, as Judge Harris wrote in her concurring opinion, a

        “complete outlier.” (DE at 14.) In every other circuit Plaintiffs would have been

        deemed prevailing parties.

              Twenty years ago, when this Court decided Smyth, the preliminary

        injunction bar in the Fourth Circuit was much lower. Under Blackwelder

        Furniture Co. of Statesville, Inc. v. Seilig Mfg. Co., 550 F.2d 189 (4th Cir. 1977), a

        plaintiff could obtain a preliminary injunction upon showing that there was a

        substantial question on the merits. Id. at 195. That changed with the Supreme

        Court decision in Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7

        (2008). From then on, a “substantial question” on the merits was not enough. A

        plaintiff could obtain a preliminary injunction only if he or she was “likely to

        succeed” on the merits. Id. at 20. This Court “recalibrated” its preliminary

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        injunction standard after Winter. Pashby v. Delia, 709 F.3d 307, 320–21 (4th Cir.

        2013). Blackwelder no longer governs.

              Sitting en banc this Court now has an opportunity to recalibrate its fee-

        shifting standard to account for this change. It should do so. As long as Smyth’s

        categorical rule governs, the people of Maryland, North Carolina, South Carolina,

        Virginia, and West Virginia do not have the same opportunity to vindicate their

        constitutional rights that Americans living elsewhere already enjoy. The point of

        the fee-shifting provisions in 42 U.S.C. § 1988 is to incentivize lawyers to take

        meritorious civil rights cases like this one. Smyth undermines that incentive

        structure. Under Smyth, a government actor can defend an unconstitutional law

        with impunity even after a district court finds the law is unconstitutional and grants

        a preliminary injunction against its enforcement. So long as the government moots

        the case prior to entry of a permanent injunction or other final judgment, the

        plaintiff—and his or her lawyers—are left holding the bag. This risk deters

        plaintiffs from bringing meritorious civil rights cases and is the opposite of what

        Congress intended.

              Replacing Smyth’s categorical rule will not require legal gymnastics.

        Simply put, and consistent with the reasoning of Supreme Court precedent, a

        plaintiff who obtains an injunction that (1) is merits-based, (2) materially alters the

        legal relationship among the parties, (3) directly benefits the plaintiff, and (4) is

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        never reversed by a court is a “prevailing party.” See CRST Van Expedited, Inc. v.

        EEOC, 578 U.S. 419, 422 (2016); Lefemine v. Wideman, 568 U.S. 1, 4-5 (2012)

        (per curiam). If this Court adopts the language of these cases as the standard

        applicable in cases involving preliminary injunctions as well, it will give district

        courts the flexibility needed to award attorneys’ fees in appropriate preliminary

        injunction cases while retaining necessary checks on fee awards.

              The Commissioner may argue, as he has in the past, that anything other than

        Smyth’s bright-line rule will be more complicated for district courts to apply. But

        simplicity of application is woefully insufficient to override Congress’s stated

        objective of ensuring meaningful representation in civil rights cases. And,

        moreover, the Commissioner’s workability concerns are overstated. District courts

        in this circuit are well-equipped to apply a straightforward four-part test in fee-

        shifting cases. District courts in every other circuit have been doing so for years.

              Accordingly, this Court should (1) overturn Smyth, (2) reverse the decisions

        of the Panel and the District Court, (3) grant Plaintiffs’ Fee Petition, (4) hold that

        Plaintiffs are prevailing parties and their attorneys are entitled to fees and other

        costs and expenses under 42 U.S.C. § 1988, and (5) remand this case to the District

        Court for further proceedings.




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                                 JURISDICTIONAL STATEMENT
              The District Court had jurisdiction over this case pursuant to 28 U.S.C.

        §§ 1331 and 1343(a)(3). The District Court entered its Order dismissing this case

        as moot on May 7, 2020. (JA1017–18.) In that Order, the District Court retained

        jurisdiction for purposes of determining Plaintiffs’ Fee Petition, which was filed on

        July 2, 2020. (JA1020–57.) The District Court referred the Fee Petition to United

        States Magistrate Judge Joel C. Hoppe (JA1058), who issued a Report and

        Recommendation on February 16, 2021, recommending that the Fee Petition be

        denied (the “Report and Recommendation”) (JA1128–55). On March 1, 2021,

        Plaintiffs timely filed Objections to the Report and Recommendation (JA1184–

        1200), which were overruled by the District Court on June 4, 2021 (JA1256–65).

        Plaintiffs filed a timely Notice of Appeal on July 2, 2021. (JA1266–68.)

              This Court has jurisdiction under 28 U.S.C. § 1291. A three-judge panel of

        this Court issued its opinion on June 27, 2022, affirming the District Court on the

        basis of Smyth. (DE 52.) The Judgment and Notice of Judgment were issued that

        same day. (DE 54-1, 54-2.) Plaintiffs petitioned the full Court for rehearing en

        banc. (DE 55.) This Court granted Plaintiffs’ petition and ordered additional

        briefing. (DE 65, 67.)




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                                       ISSUE PRESENTED
              1.     Should this Court overturn Smyth and adopt an updated standard

        consistent with current Supreme Court precedent for determining prevailing party

        status in cases involving entry of preliminary injunctions where the cases are

        subsequently mooted by legislative action?

              2.     Are Plaintiffs prevailing parties when they obtained a merits-based

        preliminary injunction that materially altered the relationship among the parties in

        a way that directly benefited Plaintiffs and remained in place when the case was

        mooted by legislative action after entry of the preliminary injunction?

                                    STATEMENT OF THE CASE
        I.    Section 46.2-395 punished those unable to pay court debt for their
              poverty without due process.
              For years, the Commonwealth of Virginia denied Plaintiffs procedural due

        process, among other things, by automatically suspending driver’s licenses for

        failure to pay court debt without holding a hearing or invoking any process

        whatsoever to determine ability to pay. See Va. Code § 46.2-395.

              Under § 46.2-395(B), license suspension by DMV was automatic and

        mandatory for “failure or refusal” to pay court debt within the specified period

        (within thirty days of conviction or according to the terms of any court-ordered

        payment plan). Plaintiffs are indigent Virginia residents whose driver’s licenses

        were automatically and indefinitely suspended by the Commissioner for failure to

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        pay court debt that they could not afford. (See, e.g., First Am. Compl. ¶¶ 1–5, 27,

        31, 40, 66, 85–86, 88.) 1 Suspension occurred automatically, without a hearing or

        any inquiry into the reasons for nonpayment or financial circumstances. (Id. ¶ 86.)

              The Commissioner maintains a database of individual driver profiles and

        updates their statuses based on information received from state courts. (Id. ¶ 65.)

        Upon receipt of information indicating that a person has failed to pay court debt,

        the Commissioner automatically issued a suspension of the person’s driver’s

        license. (Id. ¶ 66.) The Commissioner did not conduct a review of a person’s

        financial condition or otherwise inquire as to the reasons for default at any point

        related to suspending a license for failure to pay. (Id. ¶ 68.)

              The Commissioner also holds the keys to reinstatement of licenses once

        suspended, but the Commissioner would not reinstate Plaintiffs’ licenses unless

        they satisfied all court debt in all jurisdictions or they obtained payment plans from

        each court to which they are indebted. (Id. ¶¶ 69–73.) Reinstatement of a

        suspended license also required an additional reinstatement fee of at least $145

        payable to DMV. (Id. ¶ 87.)

              Under Va. Code § 46.2-395(B), hundreds of thousands of drivers lost their

        licenses simply because they lacked the financial means to pay court debt. (See



        1
         All citations to paragraphs in Plaintiffs’ First Amended Complaint can be found
        at JA226–70.
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        First Am. Compl. ¶¶ 2, 26.) In 2017, for example, more than 970,000 driver’s

        licenses were in suspended status in Virginia for failure to pay court debt. (Id.

        ¶ 26.) Those suspensions deprived drivers of reliable, lawful transportation

        necessary to get to and from work, keep medical appointments, care for ill or

        disabled family members, and, paradoxically, to meet their financial obligations to

        the courts. (See, e.g., id. ¶¶ 2, 31, 33, 39, 109, 151, 152, 168.)

              Plaintiffs were unable, not unwilling, to pay their court debt. (Id. ¶¶ 85, 88.)

        Indeed, the District Court found that Plaintiffs could not afford to pay. Stinnie, 355

        F. Supp. 3d at 520–23. In doing so, the District Court noted the many struggles

        Plaintiffs have endured that have adversely affected their ability to pay their court

        debt, such as serious illness, unemployment, and incarceration. See id. Despite

        Plaintiffs’ inability to pay, however, the District Court found that none of them

        were asked about their financial circumstances prior to license suspension or

        otherwise provided due process. See id.

        II.   Plaintiffs sued to defend their constitutional rights, but the District
              Court dismissed the Complaint finding a lack of subject matter
              jurisdiction.

              On July 6, 2016, Plaintiffs took a stand to end the harm § 46.2-395 had been

        causing. (JA27–172.) They filed suit under 42 U.S.C. § 1983 against the

        Commissioner, claiming constitutional violations stemming from § 46.2-395.




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        (JA72–79.) Plaintiffs sought certain declaratory and injunctive relief, as well as

        attorneys’ fees and costs under 42 U.S.C. § 1988. (JA79–80.)

               The Commissioner moved to dismiss. (JA173–75.) The Department of

        Justice submitted a Statement of Interest of the United States in opposition to the

        motion to dismiss “to assist the Court in considering the important constitutional

        questions presented.” Statement of Interest of the United States, Stinnie v.

        Holcomb, 734 F. App’x 858 (4th Cir. 2018) (No. 17-1740, Joint Appendix at 288–

        309). In its opinion, the District Court noted that automatic suspension of driver’s

        licenses “may very well violate Plaintiffs’ constitutional rights to due process and

        equal protection.” Stinnie v. Holcomb, Case No. 3:16-cv-00044, 2017 WL 963234,

        at *20 (W.D. Va. Mar. 13, 2017). Nevertheless, the District Court dismissed the

        case on the grounds that it lacked jurisdiction under the Rooker-Feldman doctrine,

        Article III, and Eleventh Amendment immunity. Id. Plaintiffs appealed the

        dismissal. (JA223–25.)

        III.   This Court allowed the case to go forward, remanding with instructions
               to permit Plaintiffs to amend their Complaint.
               On appeal, this Court determined that it “lack[ed] jurisdiction to consider

        Plaintiffs’ appeal because the district court’s dismissal without prejudice was not a

        final order.” Stinnie, 734 F. App’x at 861. Nonetheless, this Court “remand[ed]

        the case to the district court with instructions to allow Plaintiffs to amend their



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        complaint” because it concluded Plaintiffs could cure any deficiencies that had

        been identified by the Court in its dismissal order. See id. at 860–63.

              Chief Judge Gregory dissented because he concluded “the district court’s

        dismissal of Plaintiffs’ case for lack of jurisdiction [was] an appealable final

        order.” Id. at 863 (Gregory, C.J., dissenting). He would have reached the merits

        and determined that the District Court had improperly dismissed the action on

        jurisdictional grounds. See id. at 866-68. Chief Judge Gregory’s well-reasoned

        and thoughtful opinion also highlighted the strengths of Plaintiffs’ merits

        arguments. (See id. at 863–64 (detailing Virginia’s driver’s license scheme which

        did “not differentiate between those unable to pay from those unwilling to pay”);

        id. at 864–65 (noting the disastrous impact the statute had on Virginians).)

              Chief Judge Gregory hit the nail on the head characterizing § 46.2-395 as a

        “license-for-payment scheme.” See id. at 863–64. Virginia was charging people

        about a half-billion dollars in court fines and fees each year and was using that

        money to fund the government. See id. Then the Commissioner was automatically

        suspending licenses for nonpayment without considering ability to pay. See id.

        The system was wrong, the harm caused by the inequitable treatment under the

        statute was severe, and Plaintiffs ultimately would win relief from that practice.




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        IV.   On remand, Plaintiffs filed their First Amended Class Action Complaint
              and Motion for Preliminary Injunction on the same day.
              In September 2018, Plaintiffs filed their First Amended Class Action

        Complaint in the District Court, alleging, like the first Complaint, that § 46.2-395

        was unconstitutional. (JA262–68.) As they had in their initial Complaint,

        Plaintiffs sought declaratory and injunctive relief, as well as attorneys’ fees and

        costs under 42 U.S.C. § 1988. (JA268–69.) At the same time, Plaintiffs filed a

        Motion for Preliminary Injunction, asking this Court to: (1) enjoin the

        Commissioner from enforcing § 46.2-395 against Plaintiffs without notice and a

        determination of ability to pay; (2) remove any current suspensions of Plaintiffs’

        driver’s licenses imposed under § 46.2-395; and (3) enjoin the Commissioner from

        charging a fee to reinstate Plaintiffs’ licenses if no other restrictions on their

        licenses existed. (JA297.) That motion was fully briefed on November 9, 2018.

        (JA14–15.)

              On November 14, 2018, the Commissioner once again moved to dismiss

        (JA818–19), but this time the Court did not dismiss the case and instead granted

        Plaintiffs a preliminary injunction on December 21, 2018. (JA843–44.) Then

        litigation proceeded with respect to class certification briefing, fact and expert

        discovery, including related motions practice, and motions for summary judgment.

        (JA17–23.) More than seven months after entry of the preliminary injunction, and

        about five weeks before the case was scheduled to go to trial in August of 2019,
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        the District Court stayed the case at the request of the Commissioner and over

        Plaintiffs’ objection, pending the 2020 session of Virginia’s General Assembly.

        (JA15–23; JA955.)

        V.    The District Court granted the preliminary injunction on the merits,
              materially altering the legal relationship among the parties.

              Following briefing by the parties and a hearing involving several hours of

        testimony, including expert evidence, the District Court granted Plaintiffs’ Motion

        for Preliminary Injunction on December 21, 2018, relieving Plaintiffs of the

        burdens of § 46.2-395 and signaling that the statute likely failed to accord with

        constitutional guarantees of due process. Stinnie, 355 F. Supp. 3d at 527–32;

        (JA820–44).

              In its opinion, the District Court made it clear that it was “turn[ing] to the

        merits of the preliminary injunction.” 355 F. Supp. 3d at 527. This preliminary

        injunction did not maintain the status quo, it upended it. In deciding the merits of

        the preliminary injunction, the District Court turned, as it should, to the

        “govern[ing]” test from Winter v. Natural Resources Defense Council, Inc., 555

        U.S. 7 (2008). Stinnie, 355 F. Supp. 3d at 527. It specifically noted that “[t]o

        obtain a preliminary injunction, the moving party must establish ‘that he is likely

        to succeed on the merits, that he is likely to suffer irreparable harm in the absence

        of preliminary relief, that the balance of equities tips in his favor, and that an

        injunction is in the public interest.’” Id. (citation omitted).
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              The District Court then concluded that Plaintiffs showed they were likely to

        succeed, at the very least, on their procedural due process claim. See id. at 527–28.

        In so ruling, the District Court carefully examined the notice and hearing

        components of procedural due process. See id. at 528–31. The District Court

        determined that “Plaintiffs . . . made a clear showing that they are likely to

        establish that they are not provided an opportunity to be heard.” Id. at 529. And,

        of course, having an opportunity to be heard is crucial to procedural due process.

        Snider Int’l Corp. v. Town of Forest Heights, 739 F.3d 140, 146 (4th Cir. 2014).

              The District Court recognized that § 46.2-395 failed the hearing requirement

        of procedural due process. Stinnie, 355 F. Supp. 3d at 529 (“Plaintiffs are likely to

        show § 46.2-395 does not provide any hearing, much less one that satisfies due

        process.”); id. at 529–30 (“The Court determines that Plaintiffs are likely to

        succeed because the procedures in place are not sufficient to protect against the

        erroneous deprivation of the property interest involved. Indeed, § 46.2-395, on its

        face, provides no procedural hearing at all.”). That was precisely what Plaintiffs

        had been arguing all along. (Compl. ¶¶ 410-18; 2 First Am. Compl. ¶¶ 323-31 (“In

        the absence of notice and hearing, which do not presently exist under Virginia law

        in relation to driver’s license suspensions for unpaid court debt, the risk is very



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         All citations to paragraphs in Plaintiffs’ original Complaint can be found at
        JA27–81.
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        high that a debtor will be deprived of his or her driver’s license for reasons

        attributable to his or her poverty.”).)

              The preliminary injunction opinion marched through the Mathews factors for

        procedural due process. See Stinnie, 355 F. Supp. 3d at 529–31 (citing Mathews v.

        Eldridge, 424 U.S. 319 (1976)). In doing so, it considered the parties’ arguments

        on the merits. Id. The District Court also determined that the rest of the Winter

        factors, “irreparable harm, the balance of equities, and the public interest,” all

        counseled in Plaintiffs’ favor. Id. at 532. First, “[i]rreparable harm [was] clearly

        demonstrated through the facts surrounding Plaintiff Stinnie.” Id. Regarding the

        balance of equities, and the public interest, the District Court noted that it would

        actually help Virginia for the District Court to enjoin unconstitutional activity. See

        id. And no interest Virginia might have had was “furthered by a license

        suspension scheme that neither consider[ed] an individual’s ability to pay nor

        provide[d] him with an opportunity to be heard on the matter.” See id. Thus, the

        harm to Plaintiffs stemming from § 46.2-395 “outweigh[ed] any harm the issuance

        of a preliminary injunction would cause others.” Id.

              In granting the injunction, the District Court ordered that: (1) the

        Commissioner was “preliminarily enjoined from enforcing . . . § 46.2-395 against

        Plaintiffs unless or until [the Commissioner] or another entity provide[d] a hearing

        regarding license suspension and provide[d] adequate notice thereof”; (2) the

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        Commissioner shall “remove any current suspensions of Plaintiffs’ driver’s

        licenses imposed under . . . § 46.2-395”; and (3) the Commissioner was “enjoined

        from charging a fee to reinstate Plaintiffs’ driver’s licenses if there [were] no other

        restrictions on their licenses.” (JA843.) The Commissioner did not appeal the

        preliminary injunction, and, consistent with the preliminary injunction, provided

        the relief the Plaintiffs had prevailed upon via the preliminary injunction.

        VI.   In recognition of the impact of the preliminary injunction, a bi-partisan
              majority in the Virginia General Assembly repealed § 46.2-395.
              The entry of the preliminary injunction was a critical event that raised the

        profile of this litigation in the General Assembly. For example, less than a month

        later, Senator William M. Stanley, who sponsored the legislation repealing § 46.2-

        395, remarked: “Hopefully with the preliminary injunction being granted,

        anybody who has doubts about [the bill to end the required license suspensions for

        nonpayment of court debt] will remove them. I hope the House of Delegates will

        join the Senate in fixing this problem.” Matthew Chaney, Virginia License

        Suspension Law Faces New Challenges, Va. Law. Wkly., Jan. 9, 2019,

        https://valawyersweekly.com/2019/01/09/va-license-suspension-law-faces-new-

        challenges/ (last visited Aug. 30, 2022).

              After the preliminary injunction hearing and the blockage of repeal by the

        House of Delegates, Governor Northam proposed Budget Amendment No. 33 (the

        “Budget Amendment”) to provide temporary relief to individuals whose driver’s
                                                    15
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        licenses had been automatically suspended for failure to pay court debt. Office of

        Virginia Governor, Gov. Northam Announces Budget Amendment to Eliminate

        Driver’s License Suspensions for Nonpayment of Court Fines and Costs (Mar. 26,

        2019), http://bit.ly/GovNorthamBudget (last visited Aug. 30, 2022). The General

        Assembly passed the Budget Amendment in the House of Delegates by a vote of

        seventy to twenty-nine, and in the Senate by a vote of thirty to eight. See Virginia

        Legis. Info. Sys., Va. HB 1700 Budget Bill, 2019 Sess., https://lis.virginia.gov/cgi-

        bin/legp604.exe?191+sum+HB1700. The Budget Amendment suspended the

        operation of § 46.2-395 from July 1, 2019, to June 30, 2020 (one budget cycle).

        See Virginia Legis. Info. Sys., Va. HB 1700, Governor’s Recommendation, 2019

        Sess., http://lis.virginia.gov/cgi-bin/legp604.exe?191+amd+HB1700AG (last

        visited Aug. 30, 2022). It also waived associated reinstatement fees for driver’s

        licenses otherwise eligible for reinstatement. See id., Adjustments and

        Modifications to Fees. The General Assembly’s passage of the Budget

        Amendment was undoubtedly influenced by this litigation. See Mel Leonor,

        Northam seeks to halt license suspensions for unpaid court fees, Richmond Times-

        Dispatch (Mar. 26, 2019), https://www.richmond.com/news/local/government-

        politics/northam-seeks-to-halt-license-suspensions-for-unpaid-court-

        fees/article_8ed0c8dd-9445-5f7e-bbb4-f7fe0c7169f7.html (quoting Delegate and

        then-House Appropriations Chair Chris Jones as saying, “[w]e took what I thought

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        was a conservative approach by leaving the money in to respond to any potential

        judicial action that would invalidate the existing statute”).

              Twenty days after the General Assembly passed the Budget Amendment, the

        Commissioner again moved to dismiss the case as moot or, alternatively, to stay

        the case to allow the General Assembly an additional chance to pass a permanent

        repeal. (JA845–91.) Plaintiffs opposed the motion. (JA924–41.) Plaintiffs

        contended that the General Assembly might not repeal § 46.2-395, noting that it

        had failed to do so for years, and that staying the action would waste time.

        (JA937–39.) Plaintiffs wanted “their day in court” without delay. (JA939.) On

        June 28, 2019, the District Court denied the motion to dismiss but granted the

        motion to stay pending the General Assembly’s 2020 session. Stinnie v. Holcomb,

        396 F. Supp. 3d 653, 661 (W.D. Va. 2019); (JA955–56). The same day, the Court

        canceled the bench trial that had been scheduled for August 2019. (JA23.)

              During its 2020 regular session, the General Assembly considered proposed

        legislation to permanently eliminate the statute’s unconstitutional mandate. See

        Virginia Legis. Info. Sys., Va. SB 1, 2020 Sess., https://lis.virginia.gov/cgi-

        bin/legp604.exe?ses=201&typ=bil&val=sb1 (last visited Aug. 30, 2022). One of

        those bills was SB1 introduced by Senator Stanley on November 18, 2019. See id.

        On January 10, 2020, the Commissioner sent a letter to Senator Stanley regarding

        the legislation. (JA968–1000.) In the letter, the Commissioner gave advice about

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        how to repeal § 46.2-395 effectively. (Id.) The Commissioner also recognized the

        direct impact this case was having on the legislative process:

              As you are aware DMV is currently a party to the Stinnie v. Holcomb
              case, in which the issue under consideration is driver’s license
              suspensions for failure to pay court fines and costs pursuant to § 46.2-
              395. On June 28, 2019, the Court stayed the litigation until after the
              close of the 2020 General Assembly Session to allow the legislature to
              repeal § 46.2-395. An emergency enactment clause is needed to
              demonstrate to the Court that matters at issue in Stinnie v. Holcomb
              litigation have been addressed by the General Assembly. This should
              result in the pending litigation being dismissed, relieving the
              Department from continuing to incur costly legal fees.

        (JA968–69 (emphases added).) The Commissioner even went so far as to “offer a

        substitute” bill that had all of his recommended changes. (JA969–1000.) In other

        words, the Commissioner was actively calling for a repeal in order to stem his

        losses in this litigation from continuing to defend a law the District Court had

        already concluded likely violated procedural due process.

              The General Assembly passed SB1ER on February 26, 2020, with an

        overwhelming majority in both the House and Senate. See Virginia Legis. Info.

        Sys., Va. SB 1, 2020 Sess., https://lis.virginia.gov/cgi-bin/legp604.exe?ses=201&

        typ=bil&val=sb1 (showing SB1ER passed both chambers with the support of at

        least three-quarters of each chamber’s members). Governor Northam signed

        SB1ER in April, and it took effect on July 1, 2020. See id.

              SB1ER repealed § 46.2-395. Virginia Legis. Info. Sys., Va. SB 1, 2020

        Sess., http://lis.virginia.gov/cgi-bin/legp604.exe?201+ful+SB1ER+pdf, at lines
                                                 18
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        1244–45 (last visited Aug. 30, 2022). It also required the Commissioner to

        reinstate driving privileges suspended solely because of § 46.2-395:

              [T]he Commissioner of the Department of Motor Vehicles shall
              reinstate a person’s privilege to drive a motor vehicle that was
              suspended prior to July 1, 2019, solely pursuant to § 46.2-395 of the
              Code of Virginia and shall waive all fees relating to reinstating such
              person’s driving privileges. Nothing in this act shall require the
              Commissioner to reinstate a person’s driving privileges if such
              privileges have been otherwise lawfully suspended or revoked or if
              such person is otherwise ineligible for a driver’s license.

        Id. at lines 1246–51.

        VII. The District Court held it was constrained by Smyth to deny the Fee
             Petition, despite Plaintiffs’ “thoughtful and compelling argument” to
             the contrary.
              In light of the action taken by the General Assembly, on May 7, 2020, the

        parties stipulated that this action was moot. (JA1010–13.) The District Court

        retained jurisdiction to determine Plaintiffs’ entitlement to attorneys’ fees and

        entered an order bifurcating the briefing on Plaintiffs’ Fee Petition. (JA1017–18.)

        Pursuant to the briefing schedule entered by the District Court, the parties first

        briefed Plaintiffs’ entitlement to recover attorneys’ fees as prevailing parties. (Id.)

        The amount and reasonableness of the fees to be awarded were reserved to be

        addressed in a subsequent round of briefing. (Id.)

              The District Court referred the Fee Petition to Magistrate Judge Hoppe

        (JA1058), who issued his Report and Recommendation on February 16, 2021,

        recommending that the Fee Petition be denied (JA1128). In the Report and

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        Recommendation, Magistrate Judge Hoppe found that the preliminary injunction in

        this case “constituted merits-based relief that materially altered the relationship

        between the parties” and “carr[ied] all the necessary judicial imprimatur.”

        (JA1148–49.) In reaching this conclusion, the Report and Recommendation

        rejected the Commissioner’s arguments that the preliminary injunction was too

        narrow to constitute relief sufficient to confer prevailing party status and that the

        Commissioner did not believe Plaintiffs ultimately would have prevailed in the

        case. (JA1150–51.)

              Nonetheless, the Report and Recommendation concluded that the District

        Court was constrained by this Court’s decision in Smyth to hold that Plaintiffs had

        not achieved prevailing party status here because, in the Fourth Circuit, a

        preliminary injunction is never sufficiently merits-based to confer prevailing party

        status. (JA1139; see JA1152.) The Report and Recommendation reached this

        conclusion despite finding that (1) the Smyth panel “relied on the now-outdated

        formulation of the preliminary injunction standard articulated in Blackwelder”

        (JA1141), (2) the current preliminary injunction standard under Supreme Court and

        Fourth Circuit law “requires a more robust merits-based showing” (JA1143), and




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        (3) the Smyth decision had been “materially undermined by later Supreme Court

        precedent” (JA1152).

              On March 1, 2021, Plaintiffs timely filed Objections to the Report and

        Recommendation (JA1184–1200), but the Commissioner did not object to any of

        the findings in the Report and Recommendation (see JA24–25). Plaintiffs’

        Objections were overruled by the District Court on June 4, 2021. (JA1256–65.)

        This appeal followed.

        VIII. A panel of this Court ruled in favor of the Commissioner on the basis of
              Smyth, but the concurrence noted that the outlier rule in Smyth “allows
              defendants to game the system.”

              A three-judge panel of this Court affirmed the District Court on the grounds

        that Smyth remained binding authority. (See DE 52 at 11 (“In sum, at this juncture,

        we are bound by Smyth because it is directly on point and is neither distinguishable

        from nor untenable with any Supreme Court decision.”).) Judge Harris joined in

        the panel’s opinion, but wrote a concurrence noting that this Court “may wish” to

        reconsider Smyth. (See id. at 13 (Harris, J., concurring).) Judge Harris first

        pointed out that Winter went “a long way toward addressing [the Smyth court’s]

        concerns.” (See id.) She went on to note how the rule in Smyth “is a complete

        outlier” among the other circuits. (See id. at 14.) Without Smyth’s categorical bar,

        Judge Harris posited that “plaintiffs would almost certainly qualify as prevailing




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        parties[.]” (See id. at 16.) But instead, Smyth’s rule “allows defendants to game

        the system.” (See id. at 17.)

                                    SUMMARY OF ARGUMENT

              Smyth’s bright-line rule barring Plaintiffs, who have attained merits-based

        injunctive relief, from prevailing party status stands alone among the circuits and

        no longer makes sense in light of later-decided Supreme Court cases. This Court

        should overturn Smyth and hold that a plaintiff who obtains a preliminary

        injunction that (1) is merits-based, (2) materially alters the legal relationship

        among the parties, (3) directly benefits the plaintiff, and (4) is never reversed by a

        court is a “prevailing party.” Here, the District Court’s judicial imprimatur (in the

        form of a merits-based preliminary injunction) materially altered the relationship

        among the parties in a way that directly benefited Plaintiffs. Then the District

        Court paused the litigation, over Plaintiffs’ objection, to give the General

        Assembly an additional chance to repeal § 46.2-395. (JA955–56.) But those

        subsequent events do not detract from the legal significance of the preliminary

        injunction, which remained undisturbed to the conclusion of the litigation and

        provided full and continuing relief to Plaintiffs. Allowing Plaintiffs, and other

        litigants like them, to recover their legal fees and costs promotes fairness, justice,

        and Congressional intent. Smyth’s bright-line rule to the contrary encourages




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        litigation gamesmanship by government actors and leaves deserving Plaintiffs

        uncompensated.

                                            ARGUMENT

        I.    Standard of Review
              This Court “review[s] de novo a district court’s determination of whether

        someone is a ‘prevailing party.’” Reyazuddin v. Montgomery Cty., 988 F.3d 794,

        796 (4th Cir.), cert. denied, 142 S. Ct. 389 (2021); see Zoroastrian Ctr. & Darb-E-

        Mehr of Metro. Wash., D.C. v. Rustam Guiv Found. of N.Y., 822 F.3d 739, 754 (4th

        Cir. 2016) (citing Smyth, 282 F.3d at 274); McAfee v. Boczar, 738 F.3d 81, 87-88

        (4th Cir. 2013), as amended (4th Cir. Jan. 23, 2014); Grissom v. The Mills

        Corp., 549 F.3d 313, 318 (4th Cir. 2008). The term “prevailing party” is a legal

        term of art that this Court interprets consistently across all federal fee-shifting

        statutes. Smyth, 282 F.3d at 274.

              By design, § 1988 encourages private attorneys to take on civil rights

        litigation to protect the voices of the unheard, litigate the causes of the ignored, and

        guarantee the liberties promised to all. Cf. Pa. v. Del. Valley Citizens’ Council for

        Clean Air, 478 U.S. 546, 559 (1986) (“Section 1988 was enacted to insure that

        private citizens have a meaningful opportunity to vindicate their rights protected by

        the Civil Rights Acts.”). “Congress enacted § 1988 specifically because it found

        that the private market for legal services failed to provide many victims of civil


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        rights violations with effective access to the judicial process.” City of Riverside v.

        Rivera, 477 U.S. 561, 576 (1986); see Brandon v. Guilford Cty. Bd. of Elections,

        921 F.3d 194, 198 (4th Cir. 2019) (Congress enacted § 1988(b) “in furtherance of

        the policy of facilitating access to judicial process for the redress of civil rights

        grievances.”). Just as Congress intended, § 1988 makes a plaintiff into a “private

        attorney general.” Tex. State Teachers Ass’n v. Garland Indep. Sch. Dist., 489

        U.S. 782, 793 (1989). It does so by allowing prevailing plaintiffs to recover fees.

        42 U.S.C. § 1988.

               “Title 42 U.S.C. § 1988 provides that in federal civil rights actions ‘the

        court, in its discretion, may allow the prevailing party, other than the United States,

        a reasonable attorney’s fee as part of the costs.’” Hensley v. Eckerhart, 461 U.S.

        424, 426 (1983) (citation omitted); see also Lefemine, 568 U.S. at 4 ; Rum Creek

        Coal Sales, Inc. v. Caperton, 31 F.3d 169, 174 (4th Cir. 1994); Fed. R. Civ. P.

        54(d). “The purpose of § 1988 is to ensure ‘effective access to the judicial

        process’ for persons with civil rights grievances.” Hensley, 461 U.S. at 429

        (citation omitted). Therefore, “a prevailing plaintiff should ordinarily recover an

        attorney’s fee unless special circumstances would render such an award unjust.”

        Id. (internal quotations and citation omitted).

              “To be a ‘prevailing party,’ a party need not receive a full merits-based

        adjudication of its claim.” (JA1136 (internal footnote omitted).) The party need

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        only “receive at least some relief on the merits.” Hewitt v. Helms, 482 U.S. 755,

        760 (1987). In determining whether the relief granted is sufficient to confer

        prevailing party status, “[t]he touchstone of the prevailing party inquiry must be

        the material alteration of the legal relationship of the parties in a manner which

        Congress sought to promote in the fee statute.” Tex. State Teachers Ass’n, 489

        U.S. at 792–93, quoted in CRST Van Expedited, 578 U.S. at 422 . And “[t]his

        change must be marked by ‘judicial imprimatur.’” CRST Van Expedited, 578 U.S.

        at 422. In other words, “[a] plaintiff ‘prevails,’ . . . ‘when actual relief on the

        merits of his claim materially alters the legal relationship between the parties by

        modifying the defendant’s behavior in a way that directly benefits the plaintiff.’”

        Lefemine, 568 U.S. at 4 (citation omitted). “[A]n injunction or declaratory

        judgment, like a damages award, will usually satisfy that test.” Id. And “the

        prevailing party inquiry does not turn on the magnitude of the relief obtained.”

        Farrar v. Hobby, 506 U.S. 103, 114 (1992); Texas State Teachers Ass’n, 489 U.S.

        at 791–92 (“If the plaintiff has succeeded on ‘any significant issue in litigation

        which achieve[d] some of the benefit the parties sought in bringing suit,’ the

        plaintiff has crossed the threshold to a fee award of some kind.” (alteration in

        original) (emphases added)).




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        II.   Smyth’s bright-line rule stands alone among the circuits and no longer
              makes sense in light of later-decided Supreme Court cases.
              A.     The Fourth Circuit is the only circuit to hold that a grant of a
                     preliminary injunction can never be sufficient to confer prevailing
                     party status.

              “Smyth is a complete outlier.” (DE52 at 14 (Harris, J., concurring).) And

        the “Commissioner forthrightly concedes” that point. (Id.) “[I]n no circuit other

        than [this one] is there a bright-line rule that a preliminary injunction never can

        satisfy the prevailing party standard.” (Id. at 15; see also Opening Br. at 32–42;

        Reply Br. at 9–14; JA1045–47 (Memorandum in Support of Fee Petition);

        JA1110–12 (Reply in support of Fee Petition); JA1196 (Objections to the

        Magistrate Judge’s Report and Recommendation).)

              Circuits across the country recognize that obtaining a preliminary injunction

        can confer prevailing party status. See, e.g., Haley v. Pataki, 106 F.3d 478, 483

        (2d Cir. 1997); People Against Police Violence v. City of Pittsburgh, 520 F.3d 226,

        233–34 (3d Cir. 2008); Dearmore v. City of Garland, 519 F.3d 517, 526 (5th Cir.

        2008); Planned Parenthood S.W. Ohio Region v. Dewine, 931 F.3d 530, 542 (6th

        Cir. 2019); Dupuy v. Samuels, 423 F.3d 714, 720 (7th Cir. 2005); Rogers Group,

        Inc. v. City of Fayetteville, 683 F.3d 903, 911 (8th Cir. 2012); Higher Taste, Inc. v.

        City of Tacoma, 717 F.3d 712, 717–18 (9th Cir. 2013); Kan. Judicial Watch v.

        Stout, 653 F.3d 1230, 1238, 1240-41 (10th Cir. 2011); Common Cause/Georgia v.

        Billups, 554 F.3d 1340, 1355–56 (11th Cir. 2009); Select Milk Producers, Inc. v.

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        Johanns, 400 F.3d 939, 942, 945 (D.C. Cir. 2005). Indeed, “nearly every Court of

        Appeals to have addressed the issue has held that relief obtained via a preliminary

        injunction can, under appropriate circumstances, render a party ‘prevailing.’”

        People Against Police Violence, 520 F.3d at 232-33; see Select Milk, 400 F.3d at

        946 (disagreeing with Smyth’s per se rule). The circuit split is striking given that

        Plaintiffs would prevail in any other circuit, as further explained below. (See, e.g.,

        DE52 at 16–17 (Harris, J., concurring).) This case presents the opportunity to

        ensure uniformity within the federal circuits on prevailing party status after

        preliminary injunctions—granting the people of Maryland, North Carolina, South

        Carolina, Virginia, and West Virginia the same ability to vindicate their

        constitutional rights that Americans living elsewhere already enjoy.

              B.     When this Court decided Smyth the preliminary injunction
                     standard involved an abbreviated merits analysis, but that is no
                     longer the case.
              In Winter, the Supreme Court determined that “[a] plaintiff seeking a

        preliminary injunction must establish that he is likely to succeed on the merits, that

        he is likely to suffer irreparable harm in the absence of preliminary relief, that the

        balance of equities tips in his favor, and that an injunction is in the public interest.”

        555 U.S. at 20 (emphasis added). The Court also considered whether a preliminary

        injunction requires a possibility or likelihood of irreparable harm. Id. at 21. The




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        Court determined that “plaintiffs seeking preliminary relief [must] demonstrate that

        irreparable injury is likely in the absence of an injunction.” Id. at 22.

              The Winter standard is more stringent than the previous Blackwelder

        standard. For example, in Henderson, this Court noted how “Winter requires a

        likelihood of irreparable injury, a higher standard” than the pre-Winter test

        embodied by the Fourth Circuit’s prior holdings in Blackwelder Furniture Co. of

        Statesville, Inc. v. Seilig Mfg. Co., 550 F.2d 189 (4th Cir. 1977). Henderson ex rel.

        Nat’l Labor Relations Bd. v. Bluefield Hosp. Co., 902 F.3d 432, 438 n.* (4th Cir.

        2018); see also Pashby, 709 F.3d at 320–21 (noting how after Winter this Court

        “recalibrated” its preliminary injunction test that had been embodied in

        Blackwelder); Veasey v. Wilkins, 158 F. Supp. 3d 466, 469 (E.D.N.C. 2016).

        Importantly, Winter requires that a plaintiff must “clearly demonstrate that [she]

        will likely succeed on the merits.” Veasey, 158 F. Supp. 3d at 469. This is in stark

        contrast to the prior standard, which permitted a plaintiff to obtain a preliminary

        injunction based only on establishing that the “case presents a ‘substantial

        question’” on the merits. Compare Smyth, 282 F.3d at 276, with Winter, 555 U.S.

        at 20. The District Court correctly used the Winter standard when deciding

        Plaintiffs’ Motion for Preliminary Injunction. Stinnie, 355 F. Supp. 3d at 527–32.

              Notably, Smyth was decided under the pre-Winter standard. Compare Smyth,

        282 F.3d at 276 (using the subsequently abandoned test for a preliminary

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        injunction under Blackwelder), with Winter, 555 U.S. at 20 (focusing the

        preliminary injunction standard on the plaintiff’s likelihood of success on the

        merits). As this Court explained in The Real Truth About Obama, Inc. v. Fed.

        Election Comm’n, “[t]he Winter requirement that the plaintiff clearly demonstrate

        that it will likely succeed on the merits is far stricter than the Blackwelder

        requirement that the plaintiff demonstrate only a grave or serious question for

        litigation.” 575 F.3d 342, 346-47 (4th Cir.) (per curiam), vacated on other

        grounds, 559 U.S. 1089 (2010). The Winter standard also requires a clear showing

        of the plaintiff’s likelihood of irreparable harm, id. at 347, requires consideration

        of the public interest, id., and does not permit a relative strength in one factor to

        make up for a relative deficiency in another, id. See Veasey, 158 F. Supp. 3d at

        469-70.

              This matters because the very core of Smyth revolved around concerns

        regarding the “necessarily abbreviated” nature of the analysis of the merits in

        preliminary injunctions at the time. See Smyth, 282 F.3d at 276. The sliding scale

        aspect of Blackwelder troubled the Smyth court in particular, because it weakened

        the merits inquiry. Smyth, 282 F.3d at 277 (“A plaintiff’s burden to show a

        likelihood of success on the merits, in other words, varies according to the harm

        the plaintiff would be likely to suffer absent an injunction.”). So when the

        Supreme Court issued Winter, which changed the preliminary injunction analysis,

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        it undermined the rationale underpinning Smyth. In light of the altered preliminary

        injunction standard, this Court should no longer follow Smyth. See Faust v. S.C.

        State Highway Dep’t, 721 F.2d 934, 940 (4th Cir. 1983) (noting that a precedent

        was “not a viable authority and should no longer be followed” in light of later-

        decided Supreme Court decisions).

              To the extent the Smyth opinion can be read as establishing a bright-line rule

        against prevailing party status on preliminary injunctions no matter the relevant

        standard, 282 F.3d at 277 n.8, that language is dictum because the discussion

        extends beyond what was necessary to decide the case. Payne v. Taslimi, 998 F.3d

        648, 654–55 (4th Cir. 2021) (“And we also recognize that dictum is not binding.

        . . . Dictum is a ‘statement in a judicial opinion that could have been deleted

        without seriously impairing the analytical foundations of the holding—that, being

        peripheral, may not have received the full and careful consideration of the court

        that uttered it.’”), cert. denied, 142 S. Ct. 716 (2021). To the extent that Smyth can

        be read as attempting to survive any change in the preliminary injunction standard,

        that only shows its inflexibility—one not shared by any other circuit. Prevailing

        party status should be determined on the facts of each case, and the applicable

        preliminary injunction standard.




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        III.   This Court should overturn Smyth and hold that a plaintiff who obtains
               a preliminary injunction that (1) is merits-based, (2) materially alters
               the legal relationship among the parties, (3) directly benefits the
               plaintiff, and (4) is never reversed by a court is a “prevailing party.”

               A.    This approach best accords with Congress’s stated purpose in
                     adopting Section 1988.
               Taking on the Commonwealth of Virginia in this litigation was a huge

        commitment both in time and money on the part of Plaintiffs and their attorneys.

        42 U.S.C. § 1988 encourages counsel to devote the energy needed to do important

        civil rights work. Plaintiffs in this case, and indeed other Plaintiffs with

        meritorious civil rights actions, deserve to have sophisticated legal representation,

        even if they cannot afford it. Congress provided for just that:

               In many cases arising under our civil rights laws, the citizen who must
               sue to enforce the law has little or no money with which to hire a
               lawyer. If private citizens are to be able to assert their civil rights, and
               if those who violate the Nation’s fundamental laws are not to proceed
               with impunity, then citizens must have the opportunity to recover
               what it costs them to vindicate these rights in court.

        S. Rep. No. 94-1011, at 2 (1976), reprinted in 1976 U.S.C.C.A.N. 5908, 5910.

        Time and time again, the Supreme Court has recognized the important

        underpinnings of § 1988. See City of Riverside, 477 U.S. at 576 (“Congress

        enacted § 1988 specifically because it found that the private market for legal

        services failed to provide many victims of civil rights violations with effective

        access to the judicial process.”); Hensley, 461 U.S. at 429 (“The purpose of § 1988



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        is to ensure ‘effective access to the judicial process’ for persons with civil rights

        grievances.”).

              The future of meaningful civil rights enforcement depends on awarding fees

        and expenses in civil right actions. See S. Rep. No. 94-1011, at 2 (1976), reprinted

        in 1976 U.S.C.C.A.N. at 5910 (“All of these civil rights laws depend heavily upon

        private enforcement, and fee awards have proved an essential remedy if private

        citizens are to have a meaningful opportunity to vindicate the important

        Congressional policies which these laws contain.”); id. at 5, 1976 U.S.C.C.A.N. at

        5913 (“We find that the effects of such fee awards are ancillary and incident to

        securing compliance with these laws, and that fee awards are an integral part of the

        remedies necessary to obtain such compliance.”). Further, “[t]he remedy of

        attorneys’ fees has always been recognized as particularly appropriate in the civil

        rights area, and civil rights and attorneys’ fees have always been closely

        interwoven.” Id. at 3, 1976 U.S.C.C.A.N. at 5910. Failing to award litigation

        expenses to parties like Plaintiffs here would hinder 42 U.S.C. § 1983 litigation

        and the constitutional guarantees promised to all.

              The Commissioner has fought Plaintiffs for years through two separate

        motions to dismiss, requests for stays of discovery, motions to compel, motions to

        exclude Plaintiffs’ experts, a preliminary injunction hearing, and on and on. (JA9–

        23.) Almost two-and-a-half years passed between the filing of the initial

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        Complaint in this case and the entry of the preliminary injunction. (JA9–17.) That

        entire time, the Commissioner fought to keep an unconstitutional statute in place.

        Meanwhile, Plaintiffs’ attorneys had to divert significant resources from other low-

        income clients to persevere in this litigation. Allowing the General Assembly’s

        late-game repeal of the statute after entry of the preliminary injunction to foil

        Plaintiffs’ ability to recover their fees would allow states to employ litigation

        tactics to delay and keep unconstitutional laws on the books, mooting cases

        through legislative action at the last possible moment—and hopelessly frustrating

        Congress’ intent in passing Section 1988 in the process.

              B.     This rule is drawn directly from controlling Supreme Court
                     precedent.

              Aside from Smyth’s categorical bar, Plaintiffs met the guideposts set by

        Supreme Court precedent for prevailing party status. First, the preliminary

        injunction met the newer, more stringent preliminary injunction standard

        announced in Winter. See Stinnie, 355 F. Supp. 3d at 532. Second, that

        preliminary injunction provided the requisite judicial imprimatur. See CRST Van

        Expedited, 578 U.S. at 422 (recognizing Buckhannon’s requirement that the

        change achieved by a prevailing party must have judicial imprimatur); Lefemine,

        568 U.S. at 4-5 (recognizing injunctive relief can be sufficient for prevailing party

        status). Third, the preliminary injunction materially altered the Commissioner’s

        behavior. See Lefemine, 568 U.S. at 4–5; (JA843 (enjoining the unconstitutional
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        application of § 46.2-395 against Plaintiffs)). Fourth, that material alteration

        directly benefitted Plaintiffs, see Lefemine, 568 U.S. at 4–5, by halting the

        unconstitutional operation of § 46.2-395 and removing the § 46.2-395 suspensions

        from their licenses (JA843). Fifth, like the relief granted in Lefemine, the relief

        granted in this case was never “reversed, dissolved, or otherwise undone by the

        final decision in the same case.” Planned Parenthood, 931 F.3d at 538 (quoting

        Sole v. Wyner, 551 U.S. 74, 83 (2007)). In sum, Plaintiffs meet the standard for

        prevailing party status under Supreme Court precedent, and as discussed below,

        circuits across the country would agree.

              C.     Every other circuit to have considered the issue applies this test
                     with only slight variation in language.

              Circuits across the country recognize that obtaining a preliminary injunction

        is sufficient to confer prevailing party status, especially when, like here, the

        preliminary injunction is grounded in a merits-based determination. See People

        Against Police Violence, 520 F.3d at 232-33 (“[N]early every Court of Appeals to

        have addressed the issue has held that relief obtained via a preliminary injunction

        can, under appropriate circumstances, render a party ‘prevailing.’” (citation

        omitted)). Although the Commissioner may try to characterize the cases as

        splintered, in actuality they are unified and consistent. Indeed, ten of the eleven

        circuit courts that have addressed this question have held that a preliminary



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        injunction on the merits is sufficient to attain prevailing-party status, even where

        the case is later rendered moot:

              Second Circuit: Haley v. Pataki, 106 F.3d 478, 483 (2d Cir. 1997) (“When

        a party receives a stay or preliminary injunction but never obtains a final judgment,

        attorney’s fees are proper if the court’s action in granting the preliminary

        injunction is governed by its assessment of the merits.”); see, e.g., Mastrio v.

        Sebelius, 768 F.3d 116, 120 (2d Cir. 2014).

              Third Circuit: People Against Police Violence v. City of Pittsburgh, 520

        F.3d 226, 233–34 (3d Cir. 2008) (affirming the trial court’s determination that

        plaintiffs were prevailing parties when plaintiffs received a preliminary injunction

        on the merits, the defendant did not appeal the preliminary injunction and was

        bound by it for a period of time, and defendant avoided a final judgment by

        changing the law in such a way that gave plaintiffs the requested relief).

              Fifth Circuit: Dearmore v. City of Garland, 519 F.3d 517, 526 (5th Cir.

        2008) (concluding plaintiff was a prevailing party because plaintiff obtained a

        preliminary injunction even though the case was mooted before the final judgment

        when the defendant amended the law at issue).

              Sixth Circuit: Planned Parenthood S.W. Ohio Region v. Dewine, 931 F.3d

        530, 542 (6th Cir. 2019) (holding that a preliminary injunction on the merits that




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        was later rendered moot is sufficient to convey prevailing-party status), cert.

        denied, 141 S. Ct. 189 (2020).

              Seventh Circuit: Dupuy v. Samuels, 423 F.3d 714, 720 (7th Cir. 2005)

        (holding that a preliminary injunction on the merits that is vacated as moot is

        sufficient for prevailing-party status).

              Eighth Circuit: Rogers Group, Inc. v. City of Fayetteville, 683 F.3d 903,

        910–11 (8th Cir. 2012) (holding that a plaintiff was a prevailing party when a

        preliminary injunction on the merits blocked defendant from enforcing a law, even

        though the defendant later mooted the case by repealing the ordinance).

              Ninth Circuit: Higher Taste, Inc. v. City of Tacoma, 717 F.3d 712, 717–18

        (9th Cir. 2013) (“[W]hen a plaintiff wins a preliminary injunction and the case is

        rendered moot before final judgment, either by the passage of time or other

        circumstances beyond the parties’ control, the plaintiff is the prevailing party

        eligible for a fee award.”) (expanding prior rulings and holding that plaintiff was a

        prevailing party when it won a preliminary injunction that remained in effect until

        the parties mooted the case through settlement where the settlement agreement

        rendered the relief of the preliminary injunction sufficiently enduring to constitute

        a material alteration of the parties’ legal relationship).

              Tenth Circuit: Kansas Judicial Watch v. Stout, 653 F.3d 1230, 1238, 1240-

        41 (10th Cir. 2011) (“[I]f a preliminary injunction satisfies the relief-on-the-merits

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        requirement, the plaintiff qualifies as a ‘prevailing party’ even if events outside the

        control of the plaintiff moot the case.”) (holding that plaintiffs were prevailing

        parties when they received a preliminary injunction on the merits that provided

        some of the complaint’s requested relief, where the preliminary injunction

        persisted until “the actions of third parties mooted the case”).

              Eleventh Circuit: Common Cause/Georgia v. Billups, 554 F.3d 1340,

        1355–56 (11th Cir. 2009) (“[A] preliminary injunction on the merits . . . entitles

        one to prevailing party status and an award of attorney’s fees.” (second alteration

        in original) (citation omitted)) (holding plaintiffs were prevailing parties when they

        prevailed on a preliminary injunction that stayed in place “until Georgia repealed

        the law at issue”).

              D.C. Circuit: Select Milk Producers, Inc. v. Johanns, 400 F.3d 939, 942

        (D.C. Cir. 2005) (holding that a preliminary injunction subsequently rendered moot

        is sufficient to establish prevailing-party status where it “resulted in a court-

        ordered change in the legal relationship between the parties and gave [plaintiffs]

        the concrete and irreversible redress that they sought”).

              Two of the remaining three circuits—the First and the Federal Circuits—

        have not addressed the issue. Indeed, the Federal Circuit does not have any subject

        matter jurisdiction over Section 1983 claims in the first instance and does not

        confront the issue. And although the First Circuit has not itself directly addressed

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        the issue, see Sinapi v. R.I. Bd. of Bar Examiners, 910 F.3d 544, 552 (1st Cir.

        2018) (denying prevailing party status when preliminary relief was not based on

        the merits but expressly declining to otherwise reach the issue), at least one district

        court within that circuit has followed the majority rule, see Tri-City Cmty. Action

        Program, Inc. v. City of Malden, 680 F. Supp. 2d 306, 314 (D. Mass. 2010).

              This Court is the only circuit to adopt the bright-line rule that preliminary

        injunctions are insufficient to confer prevailing-party status under Section 1988. It

        did so in 2002, shortly after Buckhannon was decided, before the Supreme Court’s

        decision in Winter, and before nearly all the above-cited cases.

              D.     Applying the rules as adopted in every other circuit, Plaintiffs
                     meet their tests for prevailing party status.

              Regardless of the precise language adopted, Plaintiffs meet the tests for

        prevailing party status as set forth by every other circuit to have addressed the

        issue. Plaintiffs won a preliminary injunction. See Stinnie, 355 F. Supp. 3d at

        532–33. That preliminary injunction was on the merits. See id. at 527–31. That

        preliminary injunction conveyed the appropriate judicial imprimatur. See id. at

        532; see also, e.g., People Against Police Violence, 520 F.3d at 233.3 Plaintiffs’


        3
          Plaintiffs are not advancing a Buckhannon-foreclosed “catalyst theory” argument.
        (See JA1052–55; Opening Br. 29–31 (explaining why Buckhannon does not bar
        the relief which Plaintiffs seek in this appeal).) The “‘catalyst theory’ . . . posits
        that a plaintiff is a ‘prevailing party’ if it achieves the desired result because the
        lawsuit brought about a voluntary change in the defendant’s conduct.” Buckhannon

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        win resulted in a material alteration in the legal relationship between the parties.

        (See JA843–44 (order granting the preliminary injunction).) Before the

        preliminary injunction, Plaintiffs were harmed by the unconstitutional application

        of § 46.2-395; after the preliminary injunction they could not be. The relief

        Plaintiffs obtained “altered the relationship between [Plaintiffs] and the

        [Commonwealth] during the concrete period of time that the plaintiffs required the

        benefit of that alteration.” Planned Parenthood, 931 F.3d at 542; (see also JA843).

        The preliminary injunction restrained enforcement of the challenged law until the

        case was mooted by legislative repeal. Plaintiffs’ relief was never “‘reversed,

        dissolved, or otherwise undone by the final decision in the same case.’” Planned

        Parenthood, 931 F.3d at 539 (citing Sole, 551 U.S. at 83). Plaintiffs are prevailing

        parties.

               E.    This Court should not adopt the causation language from
                     Dearmore, but even if it did, these Plaintiffs would still be
                     prevailing parties.
               The Commissioner has argued that the Fourth Circuit should “strongly

        consider” replacing Smyth with the Fifth Circuit’s approach in Dearmore. (Resp.

        Br. 48–50.) The Fifth Circuit in Dearmore determined that a party could be a

        prevailing party when: “the plaintiff (1) . . . win[s] a preliminary injunction, (2)



        Bd. & Care, Inc. v. W.V. Dep’t of Health & Home Res., 532 U.S. 598, 601 (2001)
        (emphasis added). There was nothing voluntary about the District Court’s
        preliminary injunction here.
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        based upon an unambiguous indication of probable success on the merits of the

        plaintiff’s claims as opposed to a mere balancing of the equities in favor of the

        plaintiff, (3) that causes the defendant to moot the action, which prevents the

        plaintiff from obtaining final relief on the merits.” Dearmore, 519 F.3d at 524.

              This Court should not include a causation requirement like the language in

        the third prong of the Dearmore test. As an initial matter, it is unclear if a

        traditional causation requirement is actually applied in the Fifth Circuit. And

        importing a traditional causation requirement into prevailing party analysis would

        dramatically increase the complexity and resource-intensiveness associated with

        litigating fee petitions. Nonetheless, even if this Court did adopt a causation

        requirement, Plaintiffs would satisfy it.

                     1.     In practice, courts in the Fifth Circuit do not require
                            exacting proof of traditional causation to award prevailing
                            party status.
              Although the Commissioner portrays the Dearmore test as requiring

        searching analysis of causation, it is far from clear that is how that test is applied in

        practice by courts in the Fifth Circuit. For example, the district court in Amawi

        simply looked at the timing of repeal after entry of a preliminary injunction as

        demonstrative of causation. See Amawi v. Pflugerville Indep. Sch. Dist., No. 1:18-

        CV-1091-RP, 2021 WL 1226569, at *5 (W.D. Tex. Mar. 31, 2021) (“This Court

        instead will look to the operative facts for the timeline: the lawsuit was filed,


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        Plaintiffs won a preliminary injunction, Defendants passed the Amendment.”),

        appeal filed, No. 21-50360 (5th Cir. Apr. 29, 2021); Creuzot v. Green, No. 3:17-

        CV-404-M-BK, 2019 WL 2746612, at *2 (N.D. Tex. June 13, 2019) (applying

        Dearmore outside the Section 1988 context in determining a plaintiff was a

        prevailing party) (“Defendant ended his registration of the domain names after the

        Court entered the preliminary injunction, which mooted Plaintiff's ACPA claims

        and prevented Plaintiff from obtaining final relief on the merits.”), report and

        recommendation adopted, 3:17-CV-404-M-BK, 2019 WL 2743794 (N.D. Tex.

        July 1, 2019), aff’d, 850 F. App’x 917 (5th Cir. 2021).4 Indeed, the Fifth Circuit

        itself explained that its Dearmore “test does not signal any disagreement with the

        approaches adopted by the other circuits, with the exception of the Fourth Circuit.”

        Dearmore, 519 F.3d at 526 n.4. The Amawi opinion also noted that Dearmore did

        “not set[] out a new test for all cases.” See Amawi, 2021 WL 1226569, at *4. In

        doing so, it expressed doubt about whether the third prong of Dearmore would

        even be applicable when a plaintiff had to sue the executive branch, but it was the

        legislative branch that passed a statute mooting the action. See id. at *4–5. Such

        was the case here.



        4
         In this case, like Amawi, the law was changed after entry of a preliminary
        injunction, not just because a lawsuit was filed. See Amawi, 2021 WL 1226569, at
        *5 (“Defendants passed the Amendment after this Court issued the preliminary
        injunction; it was not a voluntary action taken before the Court ruled.”).
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                     2.    Requiring proof of causation would complicate fee related
                           litigation unnecessarily.
              In reformulating its prevailing party standard, this Court should not adopt

        the language in Dearmore because the third prong of the Dearmore test, which

        purports to require a determination of causality, brings in a new point of debate

        that parties would litigate extensively. The Commissioner has argued against such

        a lack of clarity throughout this appeal. (See Resp. Br. 42 (supporting a bright-line

        rule); id. at 43 (arguing that the government should be able to “make informed

        decisions”).) After disparaging “unpredictable, context-specific” rules, the

        Commissioner advocates for what appears to be the most unpredictable and

        context-specific formulation of all circuits to have considered the question.

        Engaging in a searching analysis of the causality between the preliminary

        injunction and the mooting gives life to Buckhannon’s concern about the

        unworkability of the catalyst theory because of its “analysis of the defendant’s

        subjective motivations in changing its conduct, an analysis that ‘will likely depend

        on a highly factbound inquiry and may turn on reasonable inferences from the

        nature and timing of the defendant’s change in conduct.’” Buckhannon Bd. &

        Care Home, Inc. v. W. Va. Dep’t of Health & Human Res., 532 U.S. 598, 609

        (2001) (citation omitted). To be sure, Plaintiffs are not arguing the “catalyst

        theory” in any way. Nor are Plaintiffs stating that Dearmore runs afoul of the

        “catalyst theory” prohibition in Buckhannon. Rather, Plaintiffs are noting that the
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        causality prong in the Dearmore test injects the additional litigation that

        Buckhannon hoped to avoid. Buckhannon, 532 U.S. at 609. At bottom, the Court

        should not adopt the Dearmore test because the approach set forth in Supreme

        Court precedent as applied by other circuits is more workable and clearer.

                     3.     Even under the Dearmore test, Plaintiffs are prevailing
                            parties.

              Third, even if this Court were to adopt the Dearmore test, Plaintiffs would

        prevail. First, Plaintiffs won a preliminary injunction. Compare Dearmore, 519

        F.3d at 524, with Stinnie, 355 F. Supp. 3d 514 (granting a preliminary injunction to

        Plaintiffs). Second, that preliminary injunction was “based upon an unambiguous

        indication of probable success on the merits of the plaintiff’s claims[.]” Compare

        Dearmore, 519 F.3d at 524, with Stinnie, 355 F. Supp. 3d at 531 (stating that

        “Plaintiffs demonstrate a likelihood of success on their claim that § 46.2-395

        violates procedural due process”).

              Third, Plaintiffs’ win on the preliminary injunction led to the

        Commissioner’s motion asking the Court to stay this case to allow the General

        Assembly time to repeal the statute. See Dearmore, 519 F.3d at 524. Shortly after

        issuance of the District Court’s preliminary injunction opinion, the General

        Assembly passed Budget Amendment No. 33 (the “Budget Amendment”), which

        provided temporary relief. See Virginia Legis. Info. Sys., Va. HB 1700 Budget

        Bill, 2019 Sess., http://lis.virginia.gov/cgi-bin/legp604.exe?191+sum+HB1700
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        (last visited Aug. 30, 2022). The Commissioner also began asking the District

        Court to stay the action. (See JA864–868 (using the Budget Amendment and the

        possibility of a full repeal to argue that District Court should stay the action);

        JA892–894 (using the Budget Amendment to argue in favor of pausing the case);

        JA957-JA960 (noting the repeal effort in the General Assembly).)

              Arguing against a finding of causation before a panel of this Court, the

        Commissioner tried to have it both ways. The Commissioner credited Plaintiffs’

        counsel’s lobbying efforts for “assisting in that long process” of the repeal of

        § 46.2-395, but he discredited Plaintiffs’ litigation efforts as leading to the repeal

        of § 46.2-395. (Resp. Br. 18.) Of course, to say that this impact litigation was not

        part of a coordinated effort of reform and political opposition strains credulity.

              In fact, in the very first sentence of the Commissioner’s motion to dismiss or

        stay the case, the Commissioner noted that Governor Northam appeared with

        Plaintiffs’ counsel from the Legal Aid Justice Center (“LAJC”) to call for Budget

        Amendment #33. (JA852 (“Standing below a Legal Aid banner and beside

        Defendant Commissioner Holcomb and Legal Aid’s executive director (and

        counsel for Plaintiffs in this litigation), Governor Northam announced budget

        amendment #33 . . . .”).) The event to which the Commissioner refers was

        reported in the media at the time. Lisa Provence, UPDATE: Northam calls for end

        of automatic driver’s license suspensions, C-VILLE Weekly, Mar. 26, 2019,

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        https://www.c-ville.com/license-suspension-scheme (last visited Aug. 30, 2022).

        Despite the Commissioner’s attempt to disassociate the preliminary injunction with

        the political process, the press put two and two together. See id. (noting that

        Governor Northam was speaking at LAJC, which had “filed suit against the

        commissioner of the Department of Motor Vehicles for the automatic suspensions

        that don’t consider someone’s ability to pay”). At that event, Plaintiff Brianna

        Morgan spoke about how losing her license negatively impacted her ability to take

        care of her family. See id. (“She was unable to take her father, who’d had a stroke,

        to doctor’s appointments. When her son had an asthma attack at school, it took an

        hour on the bus to get there.”). The Commissioner cannot simultaneously use

        Governor Northam’s standing with LAJC and Plaintiff Morgan to obtain a stay

        before the District Court, then run from the implication of those facts once it

        becomes inconvenient on appeal.

              At bottom, after entry of the District Court’s preliminary injunction, it

        became clear that either the legislature could repeal § 46.2-395, or the District

        Court itself would act—again. Only days after entry of the preliminary injunction,

        Senator Stanley, a Republican 5 from southside/southwest Virginia, commented on


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         The repeal effort was a bipartisan one, garnering support from both Democrats
        and Republicans. See Virginia Legis. Info. Sys., Va. SB 1, 2020 Sess.,
        https://lis.virginia.gov/cgi-bin/legp604.exe?201+sum+SB1(last visited Aug. 30,
        2022). For example, Attorney General Jason Miyares, then representing the 82nd

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        the preliminary injunction. See Matthew Chaney, Virginia License Suspension

        Law Faces New Challenges, Va. Law. Wkly., Jan. 9, 2019,

        https://valawyersweekly.com/2019/01/09/va-license-suspension-law-faces-new-

        challenges/ (last visited Aug. 30, 2022). He remarked that it was his hope that

        after Plaintiffs’ preliminary injunction win, the legislators who had doubts about

        the repeal efforts would remove them. See id.

              The Commissioner’s letter to Senator Stanley also helps show this

        litigation’s effect on the legislative process. (See JA968–69 (noting the District

        Court’s stay to allow the political process to repeal the legislation along with a

        request to add an “emergency enactment clause” to the legislation).) Why else

        would the Commissioner ask Senator Stanley to add an emergency enactment

        clause to the repeal legislation? By early 2019, it was becoming clear that the

        General Assembly’s time to repeal the statute before the Plaintiffs completed their

        march to trial was dwindling. The District Court would not have stayed the case

        indefinitely. (See JA955 (ordering that the stay would only remain in effect

        “fourteen days following the conclusion of the [2020] General Assembly’s



        District in Virginia Beach, voted for the repeal. See id. at
        https://lis.virginia.gov/cgi-bin/legp604.exe?201+vot+HV1516+SB0001 (last
        visited Aug. 30, 2022). Similarly, amici for Plaintiffs on this attorneys’ fee issue
        includes both conservative and liberal non-profit organizations. (See Brief of
        ACLU et al., of Va., in Support of Appellants, Stinnie v. Holcomb., No. 21-1756
        (4th Cir. Nov. 22, 2021), DE 21.)
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        session”).) In other words, the facts of the attempt to rush the repeal legislation

        further demonstrate Plaintiffs’ satisfaction of Dearmore’s third prong.

        IV.   Adopting Plaintiffs’ proposed test promotes fairness, justice, and
              Congressional intent.

              A.     Smyth’s bright-line rule encourages litigation gamesmanship by
                     government actors and leaves deserving Plaintiffs
                     uncompensated.
              The current rule in Smyth creates the wrong incentives for government

        actors. As Judge Harris observed, the Smyth rule “allows defendants to game the

        system.” (DE52 at 17 (Harris, J., concurring).) So long as the Smyth rule remains,

        civil rights plaintiffs in the Fourth Circuit remain at a disadvantage as compared to

        those in every other circuit. They face the risk that the government will moot the

        case after losing a preliminary injunction and before plaintiffs can win final

        judgment. (See id.) The government has vast taxpayer-provided funds through

        which to hire great lawyers to defend its laws—however unconstitutional those

        laws may be. Ordinary Americans do not generally have the same resources, and

        their inability to access legal help is hindered when the government can avoid a fee

        award by mooting the case after losing a preliminary injunction.

              Here, the perverse incentives created by Smyth were on full display. As

        Judge Harris noted, Plaintiffs were eager to move forward. (DE52 at 16–17

        (Harris, J., concurring); JA15-23.) Plaintiffs would have had their final day in

        court before the statute could have been repealed had it not been for the stay

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        requested by the Commissioner. Smyth created the conditions in which this

        litigation gamesmanship occurred. (See DE52 at 17 (Harris, J., concurring) (noting

        the incentives for gamesmanship created by Smyth).)

              B.     None of the Government’s concerns carry any persuasive weight.
              The Commissioner has proffered policy arguments in support of applying

        the bright-line rule in Smyth to deny Plaintiffs’ Fee Petition (see JA1068, 1093–

        95), but none of those arguments carry any water.

              First, the Commissioner has argued that the bright-line rule provides

        “clarity” to “courts and litigants.” (See JA1093.) This argument fails in at least

        two ways. To start, this Court should reject the idea that the approach taken in all

        of the other circuits to address the issue is simply too complicated to be workable.

        As outlined above, Plaintiffs’ reading of the relevant Supreme Court cases is

        correct and comports with important public policy concerns. The Commissioner

        portrays a non-Smyth world as “unpredictable.” (See Resp. Br. 43.) But what the

        Commissioner portrays as unworkable is the reality of every other federal circuit to

        consider the question presented. Contrary to the Commissioner’s implications, the

        dozens of state governments (including the District of Columbia) embodied in the

        ten other federal circuits are not lost at sea and unable to make reasoned litigation

        decisions because they do not have Smyth’s rule. The Commissioner has provided

        no evidence otherwise. (See Resp. Br. 43.) Needless to say, courts and litigants in


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        the Fourth Circuit are just as capable as those in other circuits.

              Further, although the Commissioner’s bright-line rule might be clear, that

        does not make it right or just. Even if replacing Smyth would cause marginally

        more effort to be expended by litigants in fee petition disputes (which it would

        not), that effort is a small price to pay for recognizing Congressional intent in

        Section 1988 and encouraging meritorious civil rights litigation.

              Second, the Commissioner has argued that a bright-line rule helps the

        government decide “how to respond” when challenged by constitutional litigation.

        (See JA1094.) But, of course, one would hope the relevant, and overriding,

        consideration for the government would be doing the right thing. See Va. Const.

        art. I, § 3 (“That government is, or ought to be, instituted for the common benefit,

        protection, and security of the people, nation, or community[.]”); Va. Code § 49-1

        (requiring all officers in the Commonwealth to swear they will “support the

        Constitution of the United States, and the Constitution of the Commonwealth of

        Virginia”). And the right thing should not include defending an unconstitutional

        statute by applying scorched-earth litigation tactics in an attempt to wear down

        indigent Plaintiffs until it becomes clear the state has no hope of success.

              The Commissioner also talks about “the costs and benefits of amending a

        law or changing a policy” as if the value of the Commonwealth’s laws can be

        reduced to a spreadsheet. (See JA1094.) But for years the Commissioner ignored

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        Plaintiffs’ household budgets. For years, the Commissioner let this

        unconstitutional regime continue to deprive hundreds of thousands of Virginians of

        their dignity and the chance to raise themselves up from the vicious cycle of

        poverty. (See generally JA27–81 (Complaint); JA226–70 (First Amended

        Complaint).) For years, the Commissioner imposed a “nightmarish spiral” that

        trapped Plaintiffs. See Stinnie, 734 F. App’x at 864 (Gregory, C.J., dissenting).

              It is not a legitimate consideration for the government to want additional

        clarity concerning how to respond regarding its unconstitutional laws because it

        might have to pay the litigation expenses of those who dare to stand up and

        challenge them. When the DMV decides to defend an unconstitutional law with

        the best lawyers it can muster and fights at every corner, it has to live with that

        decision when it loses on a merits-based preliminary injunction, even if the

        legislature later moots the law in an apparent attempt to stop the DMV “from

        continuing to incur costly legal fees.” (See JA1038–39 (quoting the

        Commissioner).) This Court should deny the invitation to continue to apply the

        bright-line rule in Smyth.

                                           CONCLUSION
              For twenty years now, this circuit has categorically prohibited prevailing-

        party status under the facts presented and has come to be the only circuit across the

        country to do so. This categorical rule is indifferent to the justness of the cause,


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        the flavor of the plaintiff’s political philosophy, and the nature of the federally

        protected right. This case affects everyone. Congress enacted Section 1988 to

        open the courthouse doors to meritorious civil rights actions. This Court has the

        chance to further effectuate that Congressional intent by overturning Smyth’s

        bright-line rule.

              Plaintiffs ask this Court to (1) overturn Smyth, (2) reverse the decisions of

        the Panel and the District Court, (3) grant Plaintiffs’ Fee Petition, (4) hold that

        Plaintiffs are prevailing parties and their attorneys are entitled to fees and other

        costs and expenses under 42 U.S.C. § 1988, and (5) remand this case to the District

        Court for further proceedings.

                                ORAL ARGUMENT STATEMENT
              The issue presented for appeal warrants oral argument, especially now that it

        is being considered en banc. This Court’s bright-line rule in Smyth holding that a

        preliminary injunction can never be sufficient relief to confer prevailing party

        status has been eroded by subsequent Supreme Court precedent and is an outlier

        with which almost all other circuits disagree. Considering the complexity of the

        legal issues involved and division among the circuits concerning the continued

        viability of Smyth, Plaintiffs respectfully suggest that oral argument is needed and

        would assist the Court.




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        Dated: August 31, 2022

        Respectfully submitted,



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                               CERTIFICATE OF COMPLIANCE
                This brief contains 11,818 words, excluding the parts of the brief

        exempted by Fed. R. App. P. 32(f). This brief has been prepared in a

        proportionally spaced 14-point Times New Roman font using Microsoft

        Word.




                                                       /s/ John J. Woolard




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                                   CERTIFICATE OF SERVICE
              I hereby certify that on August 31, 2022, I electronically filed the foregoing

        Supplemental Opening Brief of Appellants with the Clerk of this Court using the

        CM/ECF System, which will send a notification of electronic filing to all counsel

        of record who are registered CM/ECF users, including counsel for Appellee.



                                                      /s/ John J. Woolard




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                              ADDENDUM: STATUTE INVOLVED
               Pursuant to Federal Rule of Appellate Procedure 28(f), Plaintiffs submit this

        Addendum containing the “relevant parts” of the statute necessary to the resolution

        of the issue presented by this appeal:

        42 U.S.C. § 1988(b):

        (b) ATTORNEY’S FEES

        In any action or proceeding to enforce a provision of sections 1981, 1981a, 1982,

        1983, 1985, and 1986 of this title . . . the court, in its discretion, may allow the

        prevailing party, other than the United States, a reasonable attorney’s fee as part of

        the costs . . . .




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